        Case 3:12-cv-00257-JJB-RLB     Document 344    08/07/14 Page 1 of 6



                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA

THE SHAW GROUP, INC., ET AL *                CIVIL ACTION NO. 3:12-cv-257
                               *
VERSUS                         *             JUDGE JAMES J. BRADY
                               *
ZURICH AMERICAN INSURANCE*                   MAGISTRATE RICHARD L.
COMPANY, ET AL                 *             BOURGEOIS, JR.
********************************

         MEMORANDUM IN OPPOSITION TO MOTION FOR
       PROTECTIVE ORDER REGARDING THE PRODUCTION
     OF ELECTRONICALLY STORED INFORMATION AND REPLY
     MEMORANDUM TO OPPOSITION TO MOTION TO COMPEL
    PRODUCTION OF ELECTRONICALLY STORED INFORMATION

       The Shaw Group, Inc. and Shaw Process Fabricators, Inc. (collectively

“Shaw”) has opposed the Motion to Compel Electronically Stored Information

filed by Zurich American Insurance Company (“Zurich”) with an opposition to that

motion and a Motion for Protective Order on the same issues. Zurich submits that

it is entitled to the relief requested and the production of ESI in accordance with

the search terms submitted to Shaw.

       The first point to make on this is that the terms submitted by Zurich to Shaw

are no broader than the terms submitted by Shaw to Zurich. (Attached as Exhibit

“A” is a copy of the Shaw request, and as Exhibit “B” a copy of the Zurich

request). Shaw’s assertion about the broadness of Zurich’s terms is undermined by

this fact.
       Case 3:12-cv-00257-JJB-RLB      Document 344     08/07/14 Page 2 of 6



      At this point, Shaw maintains it would have “endeavored to agree on

reasonable search terms”. Of course, Zurich has now made its production and

spent months and hundreds of thousands of dollars doing so. Shaw did not indicate

any true willingness to negotiate the terms.       Shaw argues that it reasonably

negotiated the terms with NAS, but the Court must remember the context in which

Shaw demanded an ESI search from Zurich. The Court had already issued an

Order on sanctions and Shaw knew that it had Zurich “over the barrel” on this.

The context of the discussions is important.

      Counsel for Zurich made a request to negotiate the terms on December 18,

2013, by email (email attached as Exhibit “C”). The email stated, in pertinent part:

            Zurich was not aware of the e-discovery request, but we
            are getting on these ASAP. I would suggest we talk
            about the search terms, however. For instance, you have
            designated “Shaw” as a search term. If Zurich does a
            search for this term any file that ever dealt with anyone
            named Shaw will be found and some untold millions of
            documents could be produced. “REC” is another
            example. Anytime those three letters are found together
            it will be identified in a search and would result in. (sic)
            This is the same for all the requests so the more we can
            narrow the search the smaller the production would be.
            If we could narrow the search then it would be more
            efficient for everyone. Let me know if we can discuss
            this. (Emphasis added.)

      Shaw tries to characterize its response as an offer to negotiate but it was not.

The broadness of the search terms were obvious. Zurich had insured Shaw and all

of its related entities since 2005 so a search for the word Shaw would result in the


                                          2
         Case 3:12-cv-00257-JJB-RLB     Document 344     08/07/14 Page 3 of 6



production of any document related to any Shaw claim.             In addition, as an

insurance company, Zurich would have encountered other claims by other people

named Shaw. Shaw’s response was, “we don’t believe Shaw’s ESI request is as

broad as you suggest.” (See Exhibit “C”). Although Shaw suggested a test search,

there was no doubt that that search would turn up every Shaw claim. Shaw went

on to state, “Shaw also expects Zurich will be producing all documents without

objections, consistent with the Court’s October 10th Order.” (Id (emphasis

added).). The message from Shaw was “Zurich better search for the terms we

requested or we will go back to the Court.”

         Zurich then provided Shaw with an update on the search according to its

terms. On January 16, 2014, counsel for Zurich sent counsel for Shaw an email

(attached hereto as Exhibit “D”) which stated:

              Here’s a status on the ESI search. 720 files were
              identified in the search with the requested terms. 420 of
              those have been processed so far and have produced over
              three terabytes of data. We are reviewing this data. The
              processing of the other 300 files continues on a priority
              basis. Again, because of the size of the request, this is a
              lengthy process.

         Shaw’s response was, “Thanks, can you please let us know the custodians

you are searching?”       Counsel for Zurich responded, “The custodians being

searched are the ones specified in the email you forwarded to us.” (See Exhibit

“D”.).



                                          3
          Case 3:12-cv-00257-JJB-RLB   Document 344   08/07/14 Page 4 of 6



      Counsel for Shaw was informed of the massive amount of data which was

being produced in the search as it requested in December, but it made no offer to

reduce the search terms.

      Because of the large amount of data requested by Shaw, Zurich’s search

took months. It began in December and the search and review of the documents

extended through the end of May.

      On May 12, 2014, the Court issued a discovery order with sanctions which

stated “. . . the parties shall endeavor to agree on the search terms to be used to

obtain ESI responsive to Shaw’s first request for production. If the parties cannot

agree to search terms, custodians, and date ranges for locating documents

responsive to Shaw’s document requests, then Zurich must produce all responsive

ESI in accordance with Shaw’s suggested search terms, custodians, and date

ranges.” Rec. Doc. 288, pp. 10-11.

      In response to the Court’s Order, Zurich’s counsel again attempted to

negotiate the terms. In an email of May 13, 2014, to counsel for Shaw, it was

stated:

              As you know, we have been working on ESI and will
              begin production. A majority of the documents produced
              by the search are claims which involve the name “Shaw”
              but are completely unrelated to the REC claim. The
              Order says we should produce it, but do you really want
              all these documents? Let me know what your preference
              is. We will produce them if requested. (See Exhibit E.).



                                         4
       Case 3:12-cv-00257-JJB-RLB       Document 344     08/07/14 Page 5 of 6



      Again, Shaw refused to negotiate the search terms. (See Exhibit E.).

      Zurich maintains that the search terms it has submitted to Shaw are relevant

and calculated to lead to the discovery of admissible evidence. Shaw has placed

the relationship of the parties at issue in this case. In its recently filed Motion for

Summary Judgment, Shaw argues, “Zurich is liable for the acts and omissions of

its third-party administrator F.A. Richard and Associates . . . ” Rec. Doc. 311, p. 1.

At the time that this claim arose in 2009, the parties had a relationship which dated

back to 2005. Zurich denies that it has any responsibility for the actions of the

TPA which was chosen and paid by Shaw to handle Shaw’s claims. Evidence of

other claims and the history of dealings between the parties is relevant to this issue.

      Another example of this is Shaw’s argument that it had to use its “own

funds” to pay for the defense in the underlying lawsuit because Zurich did not

respond to the initial notice of the lawsuit. Rec. Doc. 318, p.3. These ESI search

terms will show how Shaw handled other claims and whether or not they used their

own funds to pay costs in those other claims as a matter of practice and without

seeking damages from their insurer.

      Zurich submits that its ESI search terms are reasonable in view of the issues.

Shaw argues that the Zurich terms are overly broad and burdensome. However,

Shaw issued similar search terms to Zurich and did not consider those to be




                                           5
       Case 3:12-cv-00257-JJB-RLB     Document 344    08/07/14 Page 6 of 6



unreasonable and overly broad. As a result, Shaw should be ordered to respond to

the Zurich search terms.

                                            RESPECTFULLY SUBMITTED,

                                            GAUDRY, RANSON, HIGGINS &
                                            GREMILLION, L.L.C.

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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 7, 2014, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this

filing will be sent to all counsel of record by operation of the court’s electronic

filing system.

                                            /s/ Wade A. Langlois, III
                                            WADE A. LANGLOIS, III




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